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13                              UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                            Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of            DECLARATION OF C. H
   themselves and all others similarly situated,             IN SUPPORT OF PLAINTIFFS’
17               Plaintiffs,
                                                             MOTIONS FOR PRELIMINARY
                                                             INJUNCTION AND PROVISIONAL
18        v.                                                 CLASS CERTIFICATION

19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4313427.1]
                    DECLARATION OF C. H      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, C. H         , declare:
 2                 1.        I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.        I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 from 2017 to present. My release date is currently set for February 26, 2033.
 7                 3.        FCI Dublin’s inadequate systems for preventing, detecting, and responding
 8 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
 9 and put myself and other incarcerated persons at substantial risk of serious harm from
10 sexual assault, harassment, and retaliation from staff.
11                 4.        In the past six years at FCI Dublin, I have experienced verbal abuse, medical
12 neglect, and retaliation for speaking up to staff. I have had my belongings confiscated. I
13 also think I am targeted for being transgender, and I have been kept in solitary confinement
14 for months at a time on four separate occasions with inadequate food, ventilation, and
15 medication.
16                 5.        While at FCI Dublin, I experienced verbal abuse and unwanted touching by
17 multiple staff people. I’ve been called an “ugly old man” and have had my room
18 ransacked and my religious and medical necessities thrown away. When I broke my foot,
19 the x-ray technician touched my knee and rubbed her hand on my leg, and I had to tell her
20 to stop. My former UniCor Supervisor, Officer Nunley, was also very touchy, and often
21 played with people’s hair and ears, or rubbed their back. He would come by and play with
22 my hair, mess with my collar, and rub my shoulders. He did this on a weekly basis for
23 years and no one did anything. I have sexual trauma, and even being here is anxiety
24 producing for me. When Nunley would touch me it felt like he was taking away my
25 power. I remember wondering why he was doing it to me and whether it meant I was
26 weak. It made me feel small to know staff could do this to me. I’ve never seen anything
27 like this place. I swear it’s cursed.
28                 6.        When I arrived at FCI Dublin in 2017, I was not provided adequate training
     [4313427.1]                                           2
                        DECLARATION OF C. H      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                         PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 and information about how to respond to sexual abuse. I was previously detained at a state
 2 prison in Colorado, CDOC, and was only aware that PREA existed through the
 3 information I received at that facility. However, I was given no information on how to
 4 report staff misconduct or abuse when I arrived at FCI Dublin, until recently.
 5         7.     There is no effective way to confidentially report sexual assault and abuse by
 6 staff at FCI Dublin. Officers, such as Ramos and Saucedo, would intimidate individuals so
 7 that they wouldn’t report. They would say things to me such as, “I know you didn’t report
 8 anything, otherwise your room would be trashed” and I would overhear them say similar
 9 things to others. I do not trust the SIS staff as I know that they do not keep reports
10 confidential. While I was in the SHU I could hear Putnam down the hall talking to another
11 person in the SHU about sexual misconduct say, “I don’t know. He’s in charge. These are
12 my buds.”
13         8.     Staff at FCI Dublin prevent people from reporting sexual assault and abuse
14 by staff and retaliate against people who do report. Their retaliation has serious
15 consequences. The staff punish us for things that aren’t our fault. They call us snitches.
16 They trash our rooms. They put us in the SHU with substandard conditions. In 2019, I
17 was placed in the SHU for four months because they found powder in my pocket which
18 they said was cocaine. It was from my medication, Buspar. The ventilation was broken in
19 the SHU while I was there. I attempted to explain the situation to Putnam and even went
20 as far as sending a letter to the captain. My time in the SHU was extended as a result.
21         9.     I’ve had a BOP staff member, Vazquez, say, “you want to tell on me? Let’s
22 see what happens to you” and tell people if they didn’t want to be treated this way they
23 shouldn’t have come to prison. Certain staff are known for being more abusive. Pool and
24 Saucedo would also trash your room if you made any noise. Officer Ramos was a very
25 abusive person. If you spoke up to him, he came after you and would mess up your room
26 or throw away your belongings. In 2019, Ramos threw away all of my religious property –
27 my beads, beading line, and medicine bag. I am Cherokee, and these items are incredibly
28 important to me. Ramos also threw away my hearing aids. It took FCI Dublin 2 years to
   [4313427.1]                              3
                DECLARATION OF C. H      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 replace them for me and they do not work. On a separate occasion, Ramos threw away my
 2 books, pictures, art supplies, and some of the few gender affirming items male detainees
 3 can have such as oils and colognes. Unfortunately, he tended to destroy neighboring rooms
 4 as well and would tell people, “Thank C for this!”
 5          10.    In January 2022, I was sent to the SHU again for three months. While I was
 6 there, Ramos threw away all of my belongings again. I just got the legal paperwork to
 7 challenge this. I wanted to file a Federal Tort Claims Act claim, but I was afraid of
 8 retaliation. Staff get angry with us if we speak up to them. The Director of BOP, Carvajal,
 9 came to talk to us at one point. I think he was trying to reassure us but when he said, “you
10 wanted attention? You’re gonna get it” I thought oh we are in trouble now because they are
11 going to blame us for all the difficulties. It made me feel hopeless.
12          11.    When incarcerated persons report sexual abuse by staff, FCI Dublin and
13 BOP do not seriously investigate the reports. Investigations are frequently delayed and
14 overseen by staff who know and work with the offending staff member. Generally nothing
15 happens as a result. Officers say, “Well I wasn’t there that day” or “That doesn’t concern
16 me.”
17          12.    There is little to no confidential mental health care available to survivors of
18 sexual abuse and assault at FCI Dublin. I’m actively suicidal and have a lot of mental
19 health issues, but when I have tried to talk to mental health staff they do not seem to take
20 me seriously and all they have to offer me are pamphlets like how to cope with PTSD.
21 They only offer us classes like Anger Management. They told me to talk to staff about
22 Tri-Valley, but I didn’t know the process to reach them. I once spoke to Dr. Norfley about
23 my mental health issues and my struggle with suicidal ideation, and he only yawned. I
24 have some access to medications, but overall, I have so many issues that they aren’t
25 treating. I tell my kids, if I don’t make it out of here, it’s not your fault.
26          13.    There is little to no medical care available to survivors of sexual abuse and
27 assault at FCI Dublin. For all of us, we experience severe and dangerous medical neglect.
28 For example, I broke my foot in August of 2018, and I didn’t get a boot for it until
   [4313427.1]                                 4
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                   PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 November. I have submitted sick calls while in extreme pain and they have been ignored
 2 for upwards of two months. During a sick call, they took away my slip and made me go to
 3 work on my feet all day. They also thought I had gout, but the pills they gave me didn’t
 4 work. I’ve broken my foot three more times since then. I kept asking for a bone density
 5 test but didn’t get one until recently – it took them four years. I experience trauma induced
 6 seizures, although the medical staff here refer to them as “pseudo seizures.” I’ve never
 7 gotten any treatment for them. Additionally, there are no accessibility signs or
 8 accommodations for individuals with impaired hearing, such as myself and I have missed
 9 meals and programming solely due to not hearing announcements or call times. Staff have
10 ridiculed and yelled at me for this. Staff also tend to give personal, medical information in
11 front of other staff members and detainees.
12                 14.    The camera system at FCI Dublin is inadequate. There are some cameras
13 installed in fixed locations in the facility, but it is well known that there are no cameras in
14 many areas. Staff at FCI Dublin have never worn body-worn cameras in the facility.
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     [4313427.1]                                       5
                         DECLARATION OF C. H      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                          PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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